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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                            November 09, 2020
                       U NITED STA TES D ISTRIC T CO UR T
                                                                             David J. Bradley, Clerk
                        SO U TH ER N DISTR ICT O F TEX AS
                           C OR PU S CH RISTID IV ISIO N

UN ITED STA TES O F A M ERICA,
 Plaintiff,

       V.                                              CR IM IN AL N O .2:15-558-2

EDM O N D D EM O N H A DN O T,
 D efendant.

                      M EM O M N DU M O PIN IO N & O RD ER

      Pending before the CourtisD efendantEdm ond D em on H adnot'sletterm otion for

com passionate release.D .E.273.Forthe reasons stated below ,hism otion is DEN IED .

L BA CK G R O UN D

      In 2017,a jury convicted Defendant of conspiracy to possess vvith intentto
distribute 220.81 kilograms of marijuana (enhanced) and possession with intent to
distribute 45.35 kilogramsofmarijuana (enhanced).Hehasserved roughly 53 months
(44%)ofhislzo-month sentenceandhasaprojectedreleasedate,aftergoodtimecredit,
of M arch 2, 2025. D efendant now m oves the Court to grant com passionate release

becausehisunderlying medicalconditions(high cholesteroland pre-diabetes)make him
particularly vulnerable to severe illness or death should he contract CO V ID-19 while in

prison.Defendantsubm itted a written requestfor com passionate release w ith the w arden

atFClThree Riverson August24,2020,buthisrequestw as denied.D .E.273-1,pp.2-4.




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II.LEGA L STAN DA RD

      The statm e,18 U.S.C.j 3582(c)(1)(A),authorizesacourtto reducea defendant's
sentenceunderlim ited circum stances'
                                    .

             (c)M odincation ofan Im posed Term ofIm prisonm ent--
             The courtm ay notm odify a term ofim prisonm entonce ithas
             been im posed exceptthat-
                 (1)in any case-
                   (A) the court, upon motion of the Director of the
                   Bureau of Prisons, or upon m otion of the defendant
                   after the defendant has fully exhausted a1l
                   adm inistrative rights to appeala failure ofthe Bureau
                   of Prisonsto bring a m otion on the defendant's behalf
                   or the lapse of 30 days from the receipt of such a
                   request by the warden of the defendant's facility,
                   w hichever is earlier, m ay reduce the term of
                    imprisonment(and may impose aterm ofprobation or
                   supervised release w ith orw ithoutconditionsthatdoes
                   notexceed the unserved portion ofthe originalterm of
                    imprisonment),after considering the factors set forth
                    in section 3553(a) to the extent that they are
                    applicable,ifitGndsthat-
                        (i)extraordinary and compelling reasons warrant
                        such a reduction ...and thatsuch a reduction is
                        consistentw ith applicable policy statem ents issued
                        by the Sentencing Com m ission.

18U.S.C.j3582(c)(1)(A)(i)(emphasisadded).
      The applicable United States Sentencing Com m ission policy statem ent provides

thatextraordinary and com pelling reasonsforearly release existw here:

             (A)M edicalCondition oftheDefendant.-
                (i)Thedefendantissuffering from aterminalillness(i.e.,
                 a serious and advanced illness w ith an end of life
                 trajectory).A specificprognosisoflifeexpectancy (i.e.,a
                 probability ofdeath within a specific tim e period)is not
                 required. Exam ples include m etastatic solid-tum or
                 cancer, amyotrophic lateral sclerosis (ALS), end-stage
                 organ disease,and advanced dem entia.
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                 (ii)Thedefendantis-
                     (I) suffering from a serious physical or medical
                     condition,
                     (11) suffering from a serious functionalor cognitive
                     im pairm ent,or
                     (111) experiencing deteriorating physical or mental
                     health because ofthe aging process,

                     that substantially dim inishes the ability of the
                     defendant to provide self-care w ithin the
                     environm ent of a correctional facility and from
                     which he or she isnotexpected to recover.

             (B) AgeoftheDefendant.-
                 The defendant is (i) at least 65 years old; (ii) is
                  experiencing a serious deterioration in physical or
                  mentalhealth because ofthe aging process;and (iii)has
                  served atleast 10 years or 75 percent ofhis orherterm
                  ofim prisonm ent,w hicheveris less;

             (C) Fam ily Circum stances.-
                 (i) The death or incapacitation ofthe caregiverof the
                  defendant'sm inorchild orm inorchildren.

                  (ii) The incapacitation of the defendant's spouse or
                  registered paM erwhen the defendantw ould be the only
                  available caregiverforthe spouse orregistered paM er.

             (D) OtherReasons.-
                  A s determ ined by the D irector ofthe Bureau ofPrisons,
                  there exists in the defendant's case an extraordinary or
                  com pelling reason other than, or in com bination w ith,
                  thereasonsdescribed in subdivisions(A)through (C).
      U.S.S.G.j1B1.13(1)(A),ApplicationNote 1.
      Even if tûextraordinary and com pelling reasons'' for early release exist, the

G uidelines'policy statem ents provide fora reduction in sentence only ifa defendanttEis

nota dangerto the safety ofany otherperson orthe com m unity,asprovided in 18 U .S.C.

j3142(g).''U.S.S.G.j IB 1.13(2).Factorsrelevantto thisinquiry include:(1)the nature

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and circum stancesofthe offensesofconvidion,including whetherthe offense is a crim e

ofviolence,orinvolves a m inorvictim ,a controlled substance,ora firearm ,explosive,or

destructive device; (2) the weight of the evidence; (3) the defendant's history and
characteristics;and (4) the nature and seriousness of the danger to any person or the
communitythatwouldbeposedbythedefendant'srelease.See 18U.S.C.j3142(g).
      The Courtm ustalso considerw hetherareduction isconsistentw ith the applicable

section 3553(a) factors. See 18 U.S.C.j 3582(c)(1)(A); U.S.S.G.           IB 1.13. The
applicable statutory factors include, am ong others: the defendant's history and

characteristics;the nature and circum stances ofthe offense;the need forthe sentence to

reflectthe seriousness of the offense,promote respect for the law,and provide just
punishm ent for the offense;the need to deter crim inal conduct and protectthe public

from further crim es of the defendant; the need to provide the defendant w ith,am ong

otherthings,any needed m edicaltreatm ent;and the variouskinds of sentencesavailable.

See 18U.S.C.jj3553(a)(1)-(7).
      W ith respectto m otions forcom passionate release based on CO V 1D-19:

             A review of a m otion for release based on CO V1D -19 is
             highly fact-intensive and dependenton the specific conditions
             of confinem ent and m edical circum stances faced by the
             defendant. H ence, a prisoner cannot satisfy his burden of
             proof by sim ply citing to nationw ide COV ID -19 statistics,
             asserting generalized statem entson conditionsofconfinem ent
             w ithin the BOP, or m aking sw eeping allegations about a
             prison's ability or lack thereof to contain an outbreak. . ..
             (Tjherampantspread ofthe coronavirusand theconditionsof
             confinementinjail,alone,arenotsufficientgroundstojustify
             a finding of extraordinary and com pelling circum stances.
             Rather,those circum stances are applicable to a11inm ates who



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                are currently im prisoned and hence are notunique to any one
                PCrS0n.
United Statesv.Koons,2020W L 1940570,at*4 & n.8 (W .D.La.Apr.21,2020)(citing
United Statesv.Raia,954F.3d 594,597 (3d Cir.2020:.
        ttln general,the defendanthas the burden to show circum stances m eeting the test

forcompassionaterelease.''United Statesv.S/owc,2019 W L 4673725,at*2 (S.D.Tex.
Sept.25,2019).
111.AN ALY SIS

        D efendant is 47 years old.H e has offered evidence that he has high cholesterol

and is pre-diabetic; how ever, neither condition has been identified as increasing the

likelihood ofsevere illness ordeath from COV ID -19.1The BOP also hasnotdeterm ined

thatany otherextraordinary and com pelling reason existsto supportD efendant'srelease.

        çç-f'he Courtcannotrelease every prisoneratrisk ofcontracting COV ID -19 because

the Courtw ould then be obligated to release every prisoner.''K oons,2020 W L 1940570

at *4.ttGeneralconcerns aboutthe spread of CO VlD-19 or the m ere fear ofcontracting

an illnessin prison are insufGcientgroundsto establish the extraordinary and com pelling



        1. Accordingto theCentersforDisease Controland Prevention,olderadults(age 65 and above)and
peopleofany agew hohavecertain underlyingm edicalconditionsareathigherdsk forsevereillnessfrom COVID -
19.People with Certain Medical Conditions, CDC (Nov.2, 2020), hlps://-             .cdc.aov/coronavims/zol9-
ncov/need-exka-nrecautions/peonle-with-m edical-conditions.
                                                          h% l.People ofany agew ith the follow ing conditions
areatincreasedriskofsevereillnessfrom COVID-19:Cancer,Chronickidneydisease' ,COPD (chronicobstructive
pulmonarydiseasel;Immtmocompromised statefrom solidorgantransplant;Obesity;SevereObesity;Seriousheart
conditions,such asheartfailure,coronary artery
                                             . disemse,or cardiom yopathies;Sickle celldisease'
                                                                                              ,Sm oking'
                                                                                                       ,and
Type2 diabetesmellitus.Peoplewith the following conditionsml
                                                           khtbe atan increased risk forsevere illnessfrom
COVID-19: Asthma (moderate-to-severel; Cerebrovascular disease; Cystic Gbrosis; Hypertension;
lm munocom prom ised state from blood or bone m arrow transplant, im m tme deticiencies, HIV, tzse of
corticosteroids,or use of other im mune w eakening m edicines;Neurologic conditions,such as dem entia;Liver
disease;Overweight;Pregnancy;Pulmonary tibrosis;Thalmssemia;and Type ldiabetesmellitus.



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reasonsnecessary to reduce a sentence.''1d.at*5.W ithoutm ore,Defendantcannotm eet

hisburden ofshow ing thatextraordinary orcom pelling reasonsw arranthisrelease.

IV .CO N CLU SIO N

      For the foregoing reasons, Defendant's letter m otion for com passionate release

(D.E.273)isDENIED.
      So ORDERED on            /t t'
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                                                N ELV A GON Z    S R AM OS
                                              UN ITED STATES D ISTRICT JUD GE




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